                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

In Re:

NOVA SECURITY GROUP, INC.,                                    Case No. 16-00370-HAC

      Debtor.
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NOVA SECURITY GROUP, INC.

         Plaintiff,

v.                                                            Adversary Case No. 17-00052-HAC

NOVA ELECTRIC IMMOBILIZATION
DEVICES, PLC,

         Defendant.

         ORDER DISMISSING ADVERSARY PROCEEDING WITHOUT PREJUDICE

         This matter is before the court on the oral motion of the plaintiff Nova Security Group,

Inc., requesting that the court dismiss this adversary proceeding without prejudice. The plaintiff

represents that it has been unable to serve the defendant after several attempts. The court finds

that the oral motion should be granted. It therefore grants the plaintiff’s oral motion and

dismisses this adversary proceeding without prejudice.

Dated: December 19, 2017




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